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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                         CR 20-114-BLG-DLC-TJC

                     Plaintiff,
                                                   FINDINGS AND
 vs.                                               RECOMMENDATIONS
                                                   REGARDING REVOCATION
 MICHAEL ZACHARY
                                                   OF SUPERVISED RELEASE
 WHITECRANE,

                     Defendant.


       A petition filed in this case alleges that Defendant violated the conditions of

his supervised release. Judge Christensen referred the matter to the undersigned to

conduct a final hearing and issue findings and recommendations. (Doc. 49.)

       On June 11, 2025, the Court conducted the final revocation hearing.

Defendant admitted all violations. As discussed below, it is recommended that

Defendant’s supervised release be revoked, and that the Court sentence Defendant

to ten (10) months incarceration, with no supervised release to follow.

I.     BACKGROUND

       In 2020, Defendant pled guilty to the offense of being a prohibited person in

possession of a firearm. (Doc. 16.) On March 17, 2021, the Court sentenced him

to 30 months imprisonment, followed by 24 months supervised release. (Doc. 25.)

Defendant began serving his term of supervised release on August 1, 2022.
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      On February 16, 2023, Defendant’s supervised release was revoked for his

failure to report to substance abuse testing; failure to maintain full time

employment; commission of a federal, state, or local crime; interaction with

someone engaged in criminal activity; failure to report to the probation office; and

failure to appear for mental health treatment. (Doc. 42.) He was sentenced to a

custodial term of six (6) months, followed by 18 months of supervised release.

Defendant began his current term of supervised release on February 7, 2024.

      On April 16, 2025, the United States Probation Office filed the petition now

at issue. The petition alleges that Defendant violated three conditions of his

supervised release and provides a brief explanation of each violation. (Doc. 47.)

Based on the petition, Judge Christensen issued a warrant for Defendant’s arrest.

(Doc. 48.) On June 3, 2025, Defendant was arrested. (See Doc. 50.) On June 5,

2025, Defendant made an initial appearance. (Doc. 51.) The Court remanded

Defendant to the custody of the United States Marshal Service pending the final

revocation hearing. (Id.)

II.   FINAL REVOCATION HEARING

      Defendant appeared at the revocation hearing represented by Steven

Babcock. Colin Rubich represented the United States. The undersigned explained

the findings and recommendations procedure to Defendant, including his right to

object to the findings and recommendations, and the right to appear and allocute

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before Judge Christensen prior to final imposition of sentence. After consenting to

proceed, Defendant admitted all the violations as alleged in the petition.

       The undersigned accepted the admissions and proceeded to sentencing. The

undersigned calculated that Defendant’s violation grade is C, his criminal history

category is V, and the underlying offense is a class C felony. Under those

circumstances, the statutory maximum sentence is 24 months incarceration, and the

United States Sentencing Guidelines call for 7–13 months incarceration.

Defendant could also be sentenced to as much as 30 months supervised release,

less any incarceration time imposed. Counsel for the United States and

Defendant’s counsel agreed with those calculations.

       Counsel for the United States requested a custodial sentence of 13 months,

with no supervised release to follow. Defendant’s counsel requested a custodial

sentence of 8 months, with no supervised release to follow.

III.   ANALYSIS

       Based on Defendant’s admission to the violations of his conditions of

supervised release, his supervised release should be revoked. The Court should

sentence Defendant to a term of ten (10) months custody, with no supervised

release to follow.

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      The undersigned has considered all the 18 U.S.C. § 3553(a) factors that are

applicable to revocation of supervised release, including the nature and

circumstances of the violations and the history and characteristics of the defendant.

      With respect to the nature and circumstances of the violations, Defendant’s

current violations involve failure to participate in substance abuse treatment, use of

controlled substances, and failure to follow the instructions of the probation

officer. None of his violations involve new criminal conduct, other than his use of

controlled substances. The violations occurred within a very short period after an

extended period of compliance, and do not warrant a sentence at the high end of

the revocation guideline range.

      With respect to Defendant’s history and characteristics, Defendant has a

significant criminal history. When Defendant was sentenced for the underlying

offense at age 33, he had attained a criminal history category of V. His prior

convictions included multiple convictions for partner family member assault,

driving while intoxicated, and possession of controlled substances. As for his

history on supervision, Defendant has done very poorly on state supervision and

has had his probation or parole revoked on numerous occasions. He has also not

done well on federal supervision. A revocation petition was filed approximately

one month into his first period of supervision. On his second term of supervision,

however, Defendant was employed and did well with no violations for over a year.

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It appears he then relapsed with using controlled substances, and the other

violations quickly followed.

      The undersigned has also considered the need to afford adequate deterrence

to criminal conduct and protect the public from further violations. On his first

revocation, Defendant was given a sentence at the low end of the revocation range

(six months). It appears this sentence did provide a degree of deterrence, at least

for approximately one year. Hopefully, a term of ten months incarceration will

similarly provide deterrence for future criminal conduct and protect the public

from further crimes.

      Finally, the undersigned has considered the need for future educational and

correctional treatment. Defendant would benefit from additional treatment and

programming to address his substance abuse problem, and to establish a positive

path forward. Nevertheless, he will be under supervision by the state of Montana

for the next three and a half years, and duplicate supervision by the United States

would not be of any benefit to Defendant or the public.

      Therefore, a sentence of ten (10) months incarceration with no supervised

release to follow is sufficient, but not greater than necessary, to accomplish the

purposes set forth in 18 U.S.C. § 3553(a).

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IV.   CONCLUSION

      Defendant was advised that the above sentence would be recommended to

Judge Christensen, and he was reminded that he has the right to object to these

Findings and Recommendations within 14 days of their issuance. He was also

reminded that he has the right to appear and allocute before Judge Christensen

prior to final imposition of sentence.

      Based on Defendant’s admissions at the hearing, the Court makes the

following FINDINGS:

      1.     Defendant violated the mandatory condition that he must not

unlawfully possess a controlled substance when he provided a urinalysis test on

March 24, 2025, that was positive for methamphetamine and alcohol.

      2.     Defendant violated the special condition that he must participate in

substance abuse treatment when Alternatives Inc. contacted Defendant’s probation

officer on April 8, 2025, and April 11, 2025, to advise that they had been unable to

make contact with Defendant to complete his intake for treatment services; and

Defendant subsequently failed to complete his intake.

      3.     Defendant violated the standard condition that he must report to

the probation officer as instructed when Defendant’s probation officer contacted

Defendant on April 9, 2025, and instructed him to report to the Probation Office,

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but Defendant failed to report, and his whereabouts were unknown at the time the

revocation petition was filed.

      Accordingly, IT IS RECOMMENDED that the Court should revoke

Defendant’s supervised release, and sentence Defendant to a term of ten (10)

months incarceration, with no supervised release to follow.

        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT

      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). Judge Christensen will make a de novo

determination regarding any portion of the Findings and Recommendations to

which objection is made. Judge Christensen may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Regardless of whether

objections to the Findings and Recommendations are made, Defendant has the

right to appear and allocute before Judge Christensen, prior to the Court’s action

on the Findings and Recommendations. United States v. Gray, 905 F.3d 1145,

1149 (9th Cir. 2018).

      DATED this 11th day of June, 2025.

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                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge

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